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IN THE UNITED STATES DISTRICT COURT 6"<,
FOR THE WESTERN DISTRICT OF TENNESSEE tiF-'~», /`¢~~ 44,(9 \OQ

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EASTERN DIVISION lai/ig -‘ /

  
 

ZACHARY ROBBINS, a minor,

by and through his parents`, YVONNE
ROBBINS and DANNY ROBBINS;
YVONNE ROBBINS and DANNY
ROBBINS, individually,

Plaintiffs, No. 04-1294-T-P

VS.

sUsAN WALLACE, et a1.,

\-_/\__-/\.,/\_/\_/\_/\_/\_/\._/\¢./\_/\_/\_/

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT SUSAN
WALLACE’S MOTION TO DISMISS

 

Plaintiffs, Zachary Robbins and his parents (“Plaintiffs”), brought this action initially
in the Circuit Court for Henderson County, Tennessee, against Defendants Susan Wallace
and the Henderson County Board of Education. Plaintiffs alleged negligence, assault,
battery, negligent infliction of emotion al di stress, intentional infliction of emotional distress,
and violation of Zachary’s civil rights under 42 U.S.C. § 1983. On November 8, 2004, the
Henderson County Board of Education (“the Board”) removed the case to this court
pursuant to 28 U.S.C. § 1441. Susan Wallace now moves to dismiss Plaintiffs’ § 1983
claims that are based upon the Foui'th and Eighth Amendm_ents. For the following reasons,

Susan Wallace’s motion to dismiss Plaintiffs’ Eighth Arnendment claim is GRANTED and

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her motion to dismiss Plaintiffs’ Fourth Amendment claim is DENIED.

l.

Zachary Robbins and his parents, Yvonne and Danny Robbins (collectively
“Plaintiffs”), are residents of Henderson County, Tennessee. At the time of the events
leading to this lawsuit, Zachary was between the ages of two (2) and three (3) years old.
(Y Pls.’ Compl. at IH[ l, 8). During late 2003, Zachary began attending preschool at
Beaver Elementary School in Henderson County. (§_e§ Pls.’ Compl. at 111 7, 8). Because of
a muscle condition from which Zach ary suffered, Zachary was a “special needs” student and
the school placed him in a special education class. (§e_e Pls.’ Compl. at M 11,12). Susan
Wallace (“Wallace”) was the teacher assigned to Zachary’s classroom (Y Pls.’ Compl. at
1| 14).

Accordin g to Plaintiffs, as soon as Zachary began attending Wallace’s class, Wallace
engaged in various forms of abuse directed toward Zachary and other students Specitically,
Plaintit`fs allege that Wallace took advantage of her disciplinary authority over Zachary and
the other students by, among other things, screaming at Zachary uncontrollably and on a
daily basis, hitting Zachary with “flyswat‘ters and yardsticks” and her hands, and committing
“other inappropriate and dangerous acts and disciplinary measures.” (E Pls.’ Compl. at
1l 16). Plaintiffs have also suggested that Wallace may have required Zachary and other

students to “drink water from a toilet.” (E Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at

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2). These alleged misdeeds took place on an uninterrupted basis until early to mid-2004,
when the Board removed Wallace as a result of a related criminal investigation (E Pls.’
Compl. at 1[ 14).

Zachary filed suit in state court through his parents, who also brought an action in
their individual capacities (E Compl.). Plaintiffs named Wallace and the Board as
Defendants. Plaintiffs asserted claims under state tort law and under 42 U.S.C. § 1983 . The
Board then removed Plaintiffs’ claims to this court.

Before the court is a motion, by Wallace, to dismiss two of Plaintiffs’ § 1983 claims.
Wallace first moves to dismiss Plaintiffs’ claim that her alleged actions constitute “cruel and
unusual punishment” under the Eighth Amendment. Wallace argues that the Eighth
Amendment is simply an improper constitutional framework within which to consider the
abusive conduct of a public school teacher toward her students. Second, Wallace seeks
dismissal of Plainti ffs’ claim that Wallace unreasonably “seized” Zachary in violation of the
protections of the Fourth Amendment. In particular, Wallace contends that, because the
“principal concem” of the Fourth Arnendment is “intrusions on privacy in the course of
criminal investigations,” (@ Waliace’s Mem. Supp. Mot. to Dismiss at 2), the Fourth
Amendment does not operate to protect public school students from excessive force inflicted
upon them by public school teachers who abuse their disciplinary authority. Plaintiffs have

responded to both of these arguments (E Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at

3~6).

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II.

Wallace’s motion to dismiss is governed by Rule 12 of the Federal Rules of Civil
Procedure. Rule 12 provides for dismissal of an action when the complaint “fails to state
a claim upon which relief can be granted.” FED. R. ClV. P. 12(b)(6). When deciding a
12(b)(6) motion to dismiss, the court “Inust construe the complaint in the light most
favorable to the plaintiff, accept all factual allegations as true, and determine whether the
plaintiff undoubtedly can prove no set of facts in support of [the] claims that would entitle
[the plaintiff] to relief.” Cline v. Rogers, 87 F.3d 176, 179 (6th Cir. 1996).

A person who sues under § 1983l must establish two elements to prevail. First, the
plaintiff must show that he was deprived of a right Secured by the United States Constitution
or the laws of the United States. Second, he must demonstrate that he was subjected or
caused to be subjected to the constitutional deprivation by a person acting under color of
state law. Davenport v. Simmons, 192 F. Supp.2d 812, 817-18 (W.D. Tenn. 2001) (citing
Searcv v. Citv of Davton, 38 F.3d 282, 286 (6th Cir. 1994) (citing Flagg Bros. v. Brool<s,

436 U.S. 149, 155 (1978))). Here, the issue is whether the allegations of the complaint,

 

l§ 1983 provides, in relevant part, that,

[e]very person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory or the
District of Columbia, subjects, or causes to be subjected, any
citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any ri ghts, privileges, or immunities
secured by the Constitution and laws, shall be liable to the party
injured

42 U.S.C. § 1983.

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taken as true and viewed in Plaintiffs’ favor, would constitute a violation of “a right [or

ri ghts] secured by the United States Constitution” and remediable under § 1983.

III.
A. The Eighth Amendment

The Eighth Amendment to the United States Constitution provides that, “[e]xcessive
bail shall not be required, nor excessive fines imposed, nor cruel and unusual punishments
injlicied.” U.S. CONST. amend. VIII2 (emphasis added). The Supreme Court has concluded
that only a certain subcategory of “cruel and unusual” government behavior, or
“punishment,” violates the Eighth Amendment as opposed to some other constitutional
provision or to none at all. See. e.g_., lngraham v. Wrigm, 430 U.S. 651 (1977).
Specifically, the Court has held that government conduct is not to be scrutinized under the
amendment unless and until the government has secured a formal adjudication of the
“punished” person’s guilt in a criminal prosecution. E E. at 671 n.4() (citing United States
v. Lovett, 328 U.S. 303, 317_18 (1946). The Court’s reasoning was grounded in the text
and history of the amendment as well as in prior precedent I_d. at 664-68 (notin g that the

“primary purpose of [the Cruel and Unusual Punishments Clause] has always been

 

2The amendment is applicable to the states and to state actors by virtue of the Due Process
Clause of the Fourteenth Amendment. g U.S. CONST. amend. XIV, § 1 (“No State shall . . .
deprive any person of life, liberty, or property, without due process of law.”); Robinson v.
California, 370 U.S. 660, 666 (1962); Louisiana ex. rel. Francis v. Resweber. 359 U.S. 459, 463
(1947).

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considered, and properly so, to be directed at the method or kind of punishment imposed for
violation of criminal statutes”) (quoting Powell v. Texas, 392 U.S. 514, 531_32 (1968)).

Despite the obvious meaning of Ingraham as applied to the facts of this case,
Plaintiffs nonetheless argue that this court should either factually distinguish this case or
“change . . . the law.” Plaintiffs first argue that what Wallace allegedly did to Zachary was
subjectively more “cruel and unusual” than what happened to the petitioners in lngraham.
(E Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 3-4). Those petitioners, however,
claimed state conduct that was far more egregious than Plaintiffs acknowledge One
petitioner claimed that two assistant principals had grabbed him and hit him twenty (20)
times with a paddle, and the other petitioner claimed that he had been paddled on his arm,
back, neck, and wrist. See Ingraham v .Wright, 525 F.2d 909, 911 (5‘}‘ Cir. 1976), _eif_’_d, 430
U.S. 651 (1977). Thus, contrary to Plaintiffs’ attempt to draw a distinction between “mere”
corporal punishment and “cruel and unusual” corporal punishment, Ingraham did not base
its decision on any such distinction but instead simply held the Eighth Amendment
inapplicable to punishment, of whatever severity, inflicted by public school officials
exercising disciplinary authority in the public school system, Ingraham v. Wright, 430 U.S.
651, 671 (1977).

Plaintiffs also point out that Ingraham was decided almost three (3) decades ago and
that only five (5) Justices signed the majority opinion limiting the Eighth Amendment to the

post-conviction treatment of criminal offenders (_S_e_e Pls.’ Mem. Opp. Wallace’s Mot. to

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Dismiss at 4). Apparently, Plaintiffs consider the length of time that has transpired since
Ingraham was decided as a factor that would justify changing instead of adhering to
precedent Even if the court agrees, neither time nor a persuasive dissent would permit this
court to disregard an unambiguous and applicable decision of the Supreme Court.

Last, Plaintiffs contend that, because of “the evolution of our society,” the Supreme
Court would likely hold that the abuse alleged in this case was cruel and unusual and
violated the Eighth Amendment. (E Pls.’ Mem. Opp. Wallace’s Mot. to Disrniss at 4).
ln other words, Plaintiffs insist that society in 1977 may have accepted screaming, striking
with flyswatters and yardsticks and hands, and/ or forcing students to drink from commodes,
but that society in 2005 would necessarily condemn such conduct by a public school teacher.
This argument is not persuasive because it confuses the question of whether the Eighth
Amendment is even a relevant limit on particular government conduct with the question of
whether conduct admittedly governed by the Eighth Amendment (such as the execution of
a prisoner) has become “cruel and unusual” under society’s “evolving standards of decency.”
E In graham, 430 U.S. at 668 n.36 (noting that the concept of cruel and unusual criminal
punishment may “become[] enlightened by a humane justice”); Mo, Roper v. Simmons,
125 S.Ct. 1183, 1190 (2005) (discussing “evolving standards of decency” in the death
penalty context). This case is concerned only with the first question, and the answer to that
question is controlled by ln graham and not amenable to any evolving standards other than

those enunciated by the Supreme Court itself.

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lndeed, the factual allegations of Plaintiffs’ complaint do accuse Wallace of serious,
severe, “cruel and unusual” conduct. (_S_§§ Pls. Compl. and Mem. Opp. Wallace’s Mot. to
Dismiss). Viewing those accusations in Plaintiffs’ favor, the conduct was also arguably
imposed as some form of “punishment” against Zachary. Notwithstanding and assuming
all of this, such punishment by this defendant simply does not implicate the Eighth
Amendment. The “plaintiff undoubtedly can prove no set of facts in support of [the] [Eighth
Amendment] claims that would entitle [the plaintiff] to relief.” § Cline v. Rogers, 87 F.3d
176, 179 (6“' Cir. 1996) (second brackets added)_

Accordingly, Wallace’s Rule 12(b)(6) Motion to Dismiss Plaintiffs’ Eighth

Amendmcnt claim is GRANTED.

B. The Fourth Amendment
Whether Plaintiffs have stated a claim under the Fourth Amendment presents a more
difficult question. That amendment grants “the people” a constitutional right “to be secure
in their persons . . . against unreasonable searches and seizures.” U.S. CONST. amend. IV.
lt has been incorporated into the Due Process Clause ofthe Fourteenth Amendmen_t and thus

applies with equal force to both federal and state actors See` e.g., MaDD v. Ohio, 367 U.S.

 

643 (1961).
Under the Fourth Amendment, a seizure occurs when a government agent restrains

a person’s freedom of movement in such a way that a reasonable person in the same position

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would not feel free to walk away. See, e.g., Elwoski v. Citv of Brunswick, 287 F.3d 492,
506 (6th Cir. 2002) (citing Michigan v. Chestemut, 486 U.S. 567, 573 (1988)). The
government agent must intentionally acquire physical control over the person seized. wa
ggg Q. (citing Brower v. Countv oflnvo, 489 U.S. 593, 596 (1989)). Additionally, unless
and until the person is successfully restrained by physical force or a show of authority, a
Fourth Amendment seizure has not transpired l_d. (citing Califomia v. Hodari D., 499 U.S.
621 (1991)).

Wallace argues that the constitutional proscription of unreasonable seizures by
government agents is not controlling in cases where teachers are alleged to have used
excessive force as a means of maintaining control over a classroom (M Wallace’s Mem.
Supp. Mot. to Dism_iss at 2). ln graham, M, did not resolve that question. w ln graham
v. Wright, 430 U.S. 651, 674 n.42 (1977). As pointed out by Wallace, the Court has in fact
noted that one of the Framers’ “principal concerns” in drafting the Fourth Amendment was
“the pre-Revolutionary practice of using general warrants or ‘writs of assistance’ to
authorize searches for contraband by officers of the Crown.” New Jersey v. T.L.O., 469

U.S. 325, 335 (1985); see also lngraham, 430 U.S. at 674 n.42 (acknowiedging that the

 

Fourth Amendment is especially concerned with government invasions of legitimate
expectations of privacy during the course of criminal investigations); Tennessee v. Garner,
471 U.S. 1, 7 (1985) (applying Fourth Amendment “seizure” analysis to the use of deadly

force as a means of apprehending a criminal suspect).

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The Fourth Amendment’s protection of legitimate expectations of privacy, bodily
movement, and security is not as limited as Wallace suggests As noted by the Court in NM
Jersey v. T.L.O., although the historical roots of the Fourth Amendment are found in the law
enforcement context, the “‘basic purpose of this Amendment, as recognized in countless
decisions of [the Supreme] Court, is to safeguard the privacy and security of individuals
against arbitrary invasions by government officials.”’ New lersey v. T.L.O., 469 U.S. 325,
335 (1985) (citing Camara v. Municipal Court, 387 U.S. 523, 528 (1967)). Those interests
suffer as a result of intrusions by a government actor regardless of whether the government
actor’s motive is to enforce the criminal law as opposed to some other standard E M.

(citing Marshall v. Barlow’s Inc., 436 U.S. 307, 312-13 (1978)). For these reasons, the

 

Court in M easily held that the Fourth Amendment protects public school children from
unreasonable searches carried out by school officials l_d. at 334-37 (noting that school
officials carry out searches and perform other disciplinary functions as representatives of the
state and pursuant to state man dated disciplinary standards). This holding has been extended
beyond the search context to apply to forceful disciplinary “seizures” effected by school
teachers as well. See, e.g., Wallace v. Batavia School Dist., 68 F.3d 1010 (7“‘ Cir. 1995).

Perhaps recognizing that the “original intent” argument was rejected in I_.L._Q,
Wallace relies on a decision of the Sixth Circuit in which the court of appeals held that the
student plaintiffs’ claims of sexual and physical abuse against a teacher and soccer coach

were governed by the “shocks the conscience” test of the “substantive due process”

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component of the Fourteenth Amendment. (M Wallace’s Mem. Supp. Mot. to Dismiss at
2 n.l) (citing Lillard v, Shelbv Countv Bd. of Educ., 76 F.3d 716, 724»26 (6th Cir. 1996)).
In that case, the court of appeals explained that a plaintiff may allege two different types of
substantive violations by state actors under the Due Process Clause of the Fourteenth

Amendment,

The first type includes claims asserting denial of a right, privilege, or immunity
secured by the Constitution or by federal statute other than procedural claims under
‘the Fourteenth Amendmcnt Simplt`citer.’

The other type of claim is directed at official acts which may not occur regardless of

the procedural safeguards accompanying them. The test for substantive due process

claims of this type is whether the conduct complained of ‘shocks the conscience’ of

the court.
Lillard v. Shelby County Bd. of Educ., 76 F.3d 716, 724-26 (6“‘ Cir. 1996) (intemal
citations omitted). In other words, if a plaintiff is alleging that particular government action
violated a substantive right not covered by a particular constitutional provision or federal
statute, then his claim should be characterized as a “substantive due process” claim. If, on
the other hand, a plaintiff alleges that a state actor has deprived him of “due process” by
violating an independent constitutional provision, such as the Fourth Amendment, the
standards applicable to that provision govern instead of the more vague standards that have

been articulated under the general notion of “substantive due process.”

Lillard did not even address a claim that a public school teacher violated the Fourth

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Amendment by using excessive disciplinary force to acquire control over students The
issue in that case was what “test” applies (“shocks the conscience” or some other level of
scrutiny) when an excessive force plaintiff is relying on the second type of substantive due
process claim noted above. M certainly does not stand for the proposition that students
must bring all excessive force claims against school officials under the same theory as the
gm plaintiffs even if a more explicit constitutional provision applies Indeed, as noted
by Wallace in her Motion to Dismiss, the Supreme Court has been skeptical of the “shocks
the conscience” test and has instructed that when there is an “explicit textual source of
constitutional protection against . . . physically intrusive governmental conduct,” then Fourth
Amendment analysis should apply instead of “the more generalized notion of substantive
due process.” Graham v. Conner, 490 U.S. 386, 395 (1989) (internal citations and quotation
marks omitted). ln short, Plaintiffs Fourth Amendment claim is not foreclosed by M.

Here, Plaintiffs have alleged facts that, if believed, would justify a finding that
Wallace used her official authority to intentionally acquire physical and disciplinary control
over Zachary in a manner that was objectively unreasonable under the totality of
circumstances and that would lead a reasonable person in Zachary’s position to believe that
he was not free to leave. In particular, Plaintiffs claim that Wallace “showed her authority”
by “[d]aily uncontrolled screaming,” by “forcefully striking Zachary’s person[] with
inappropriate objects . . . such as flyswatters and yardsticks,” by hitting Zachary with her

hands, and by engaging in other inappropriate “disciplinary measures.” lfWallace restrained

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Zachary’s movement in the method alleged, she did so as a representative of the state
seeking to “enforce” the “law” of the classroom Like the school searches for cigarettes in
LL._O. were subject to Fourth Amendment analysis, this court concludes that the Fourth
Amendment could also apply to a school teacher’s use of force or other displays of
disciplinary authority to “seize” her students

Because Plaintiffs have alleged “a set of facts” that could support finding an unlawful
seizure of Zachary’s person in violation of the Fourth Amendment, Wallace’s 12(b)(6)

Motion to Dismiss that portion of Plaintiffs’ complaint is DENIED.

lV.
For the foregoing reasons, Wallace’s Motion to Dismiss Plaintiffs’ Eighth
Amendment claim is GRANTED and her l\/lotion to Dismiss Plaintiffs’ Fourth Amendment
claim is DENIED.

lT lS SO ORDERED.

Q/vwid-O<»M

JA S D. TODD
UN ED STATES DISTRICT JUDGE

A§Mw'aeas/

DATE l

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:04-CV-01294 was distributed by fax, mail, or direct printing on
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